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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  MORPHOSYS AG,
                                                   C.A. No. 16-221 (LPS) (CJB)
                  Plaintiff,

           v.                                      JURY TRIAL DEMANDED

  JANSSEN BIOTECH, INC., GENMAB
  US, INC. and GENMAB A/S

                  Defendants.

                                      JOINT STATUS REPORT

           Pursuant to the Court’s December 27, 2017 Memorandum Order (D.I. 255) (“the

  December 27 Order”), Plaintiff MorphoSys AG (“MorphoSys”) and Defendants Janssen Biotech,

  Inc., Genmab A/S, and Genmab US, Inc. (collectively “Defendants”) submit this Joint Status

  Report. The parties met and conferred on December 28, 2017, but did not agree on the impact of

  the December 27 Order on Defendants’ motion for bifurcation of willfulness or stay of the

  October 26, 2017 discovery order (D.I. 228), including whether oral argument, currently

  scheduled for January 23, 2018, should proceed. The parties submit the competing positions

  below.

  MorphoSys’s Position

           A jury trial in this case is scheduled for February 2019, and fact discovery is set to close

  on March 2, 2018. D.I. 204. Depositions of Defendants’ witnesses are scheduled throughout

  January and February 2018. Defendants continue to withhold relevant documents despite Your

  Honor’s ruling on October 26, 2017 that Defendants waived privilege over such documents and

  those documents must be produced. 2017/10/26 Hr’g Tr. at 24:17-26:11, 33:14-34:10. Rather

  than comply, Defendants are selectively producing the documents they unilaterally deem not

  prejudicial. Plaintiff informed Defendants of authority holding that such self-granted stays are
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  improper.   2017/12/06 Email from counsel for Plaintiff to counsel for Defendants (citing

  Willemijn Houdstermaatschaapij BV v. Apollo Computer Inc., 707 F. Supp. 1429, 1441 (D. Del.

  1989), and other cases are in accord. See, e.g., Applied Biosystems, Inc. v. Cruachem, Inc., No.

  89-579, 1990 WL 495458, at *1-2 (D. Del. Aug. 3, 1990). The first witness likely to have

  knowledge of privilege-waived information is scheduled for January 18, 2018.

         The December 27 Order affirms the Court’s October 26 ruling in total, and further holds

  that grounds for interlocutory appeal of the October 26 ruling are not present. D.I. 255 at 2-3.

  The December 27 Order de facto denies Defendants’ request for a stay of discovery on

  willfulness and obviates need for oral argument on that issue scheduled for January 23, 2018.

  Defendants’ reasoning for a stay of discovery, including arguments about “prejudice,” are

  essentially the same as that presented for reargument and interlocutory appeal, which has now

  been denied. Compare D.I. 227 at 1, 9-10 with D.I. 228 at 7-9. Indeed, Defendants argued they

  should be granted a stay because they were likely to succeed on the merits “[f]or all the reasons

  set forth in the concurrently filed Reargument Motion.” D.I. 228 at 7. Despite this Court’s

  October 26 and December 27 rulings, Defendants have not agreed to withdraw even their motion

  to stay. In light of the status of the case and the Court’s prior rulings, MorphoSys believes the

  most efficient way to proceed would be for the Court to deny the motion to stay formally, based

  on the reasoning of the December 27 Order and to defer consideration of bifurcation until closer

  to trial. However, if the Court prefers to consider these issues at oral argument now, MorphoSys

  will be prepared to address them on January 23.

         The Court “DENIED” Defendants’ motion for reargument, clarification, and/or

  certification, and correctly affirmed that the waiver extends to documents or communications

  relating to the “same subject matter.” D.I. 255 at ¶ 6. Defendants’ suggestion set-forth below



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  that the December 27 denial limited the waiver to “documents and communications with opinion

  counsel” is therefore incorrect. In its October 26 ruling, the Court accepted the relief sought by

  MorphoSys that communications of in-house counsel related to the validity or infringement of

  the patents-in suit were waived.      2017/10/26 Hr’g Tr. at 24:17-26:11; D.I. 211.         Indeed,

  Defendants    recognized    that,   having   told   the   Federal   Circuit   in   their   proposed

  “amicus” brief in JHU v. Alcon that “the same district court recently issued a similar order

  rejecting any temporal or subject matter limitation and compelling the broad production of in-

  house counsel’s privileged communications.” D.I. 254 at Ex. D.

         The mandamus petition in JHU v. Alcon and Defendants’ speculation about the

  likelihood of its success should not impact this case. “The remedy of mandamus is a drastic one,

  to be invoked only in extraordinary situations.” See Brinkmeier v. Graco Children's Prods., 767

  F. Supp. 2d 488, 493-94 (D. Del. 2011) (denying stay despite pending mandamus petition); see

  also D.I. 233 at 18. Regardless of the outcome of Alcon’s petition, Defendants in this case will

  not be able to show that this Court’s October 26 ruling was a clear abuse of discretion or

  usurpation of judicial power. Immediate compliance with the Court’s October 26 ruling is

  appropriate and will not be an additional waiver of privilege or create an unreviewable prejudice

  post-judgment. D.I. 233 at 18-19; Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 109-110

  (2009); see Westinghouse Elec. Corp. v. Republic of Philippines, 951 F.2d 1414, 1427, n.14 (3d

  Cir. 1991).

  Defendants’ Position

         The Court’s December 27 Order requires Defendants to produce “all documents and

  communications with opinion counsel, including any documents or communications relating to

  the same subject matter.” D.I. 255 at ¶6 (emphasis added); see also ¶2. If, as the Order suggests,



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  Defendants are only required to produce documents and communications with opinion counsel

  (as opposed, for example, to communications between in-house counsel), Defendants have no

  objections, and will fully comply without further briefing or objections, and the January 23

  hearing can be canceled.

          That said, in its October 26 oral Order, the Court appeared not to limit the required

  production to communications with opinion counsel. See Tr. At 5:2-7 (Plaintiff’s counsel

  seeking production of all documents, not just those involving opinion counsel); Tr. 24:25-25:3

  (Court holding that “the waiver extends to all documents and communications on that same

  subject matter and is not as narrow as defendants appear to be arguing”). Thus, the following

  discussion is provided in case the Court intends for the waiver to apply irrespective of whether

  opinion counsel was involved.

          Defendants have worked diligently to comply with the Court’s October 26, 2017 Order.

  In addition to the more than 5,000 pages of willfulness-related documents previously produced,

  Defendants have since produced tens of thousands of additional pages from both Janssen and

  Genmab related to the subject matter of the opinions. Further, Defendants are reviewing and

  producing documents from the ten additional custodians identified by MorphoSys in order to

  produce additional documents related to MorphoSys’s willfulness claim consistent with the

  Court’s October 26, 2017 Order. (Oct. 26, 2017 Tr. at 34.) Defendants are not withholding

  documents related to Morphosys’s European patents and patent applications to the extent such

  documents relate to the same subject matter as the produced opinions. (D.I. 255 at ¶ 6.)

  Defendants are producing these documents as quickly as possible, on a rolling basis. Defendants

  have also provided updated privilege logs and are continuing to work with MorphoSys on these

  logs.



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         Defendants are withholding only two categories of materials at the present time: (1) in-

  house communications generated after the filing of this litigation and (2) communications prior

  to the issuance of the patents-in-suit. But Defendants have not engaged in “self-help.” To the

  contrary, Defendants sought rehearing or clarification, and also filed an amicus brief in JHU v.

  Alcon. Importantly, there is every indication the Federal Circuit is taking Alcon’s petition

  seriously, as it directed JHU to respond. Moreover, three prominent organizations—the

  Association of Corporate Counsel (ACC), the Biotechnology Innovation Organization (BIO),

  and the Pharmaceutical Research and Manufacturers Association (PhRMA)—also filed amicus

  briefs supporting Alcon. D.I. 254. Given the gravity of these issues, the Court should allow the

  Federal Circuit to decide these issues before forcing Defendants to produce the materials.1

         With respect to the pending motion to stay or bifurcate discovery, Defendants believe that

  oral argument should proceed per the Court’s Order on January 23. Far from mooting the issue,

  the Court’s decision denying reconsideration makes the need for bifurcation or stay of discovery

  on willfulness more pressing. After all, the prejudice to Defendants from having to produce

  potentially privileged documents cannot be undone. Moreover, staying or bifurcating willfulness

  will allow the case to move forward while the Federal Circuit addresses the privilege issues

  raised in the JHU case and here. Although Morphosys suggests that bifurcation will delay the

  case, the opposite is true. Bifurcating or staying discovery on willfulness will allow the parties

  to continue litigating infringement and validity of the patents-in-suit without any delay due to

  appellate filings. In the event there is a need for trial on willfulness, both discovery and a
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    Plaintiff’s citations to Willemijn and Applied Biosystems are misplaced. There, defendants
  refused altogether to provide otherwise unobjectionable discovery on certain issues (damages
  and antitrust liability), based on motions to sever or stay. In contrast, Defendants are providing
  extensive willfulness discovery. They are only withholding certain privileged materials, since
  the prejudice from being forced to produce them cannot be undone. Neither Willemijm nor
  Applied Biosystems addressed remotely analogous facts.

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  hearing could be completed in short order after trial on infringement and validity. MorphoSys

  does not have a competing product, and it is not seeking an injunction. So bifurcation or stay of

  willfulness discovery will not cause it prejudice.

         In summary, if the waiver is limited to documents or communications involving opinion

  counsel, there is no need for a hearing on January 23, and Defendants will withdraw their

  pending motion to bifurcate. But if it is not so limited, Defendants respectfully request the

  opportunity to address these issues more fully at oral argument on January 23.

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